Case 3:18-cv-00156-NJR Document 333 Filed 08/11/21 Page 1 of 3 Page ID #7686




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS
                             EAST ST. LOUIS DIVISION

 JANIAH MONROE, MARILYN                            )
 MELENDEZ, LYDIA HELÉNA VISION,                    )
 SORA KUYKENDALL, and SASHA REED,                  )
 individually and on behalf of a class of          )
 similarly situated individuals,                   )
                                                   )
                                                       Case No. 3:18-cv-00156-NJR
                Plaintiffs,                        )
                                                   )
        v.                                         )
                                                   )
 ROB JEFFREYS, MELVIN HINTON,                      )
 and STEVEN BOWMAN,                                )
                                                   )
                Defendants.                        )


             PLAINTIFFS’ NOTICE OF INTENT TO REQUEST REDACTION


       Pursuant to Plaintiffs’ request to the Court on August 2, 2021, and with agreement by

Defendants, Plaintiffs hereby provide notice that they intend to submit Redaction Requests to the

Court Reporter within 21 days from the filing of the transcript with the Clerk of Court to redact

chosen or dead names of class members not listed in the case caption in the trial transcripts and

admitted exhibits.

       The proceedings occurred from August 2, 2021 through August 5, 2021 and were

reported by Court Reporter Stephanie Rennegarbe, Court Reporter/Transcriber Hannah Jagler,

and Court Reporter/Transcriber Karen E. Waugh, respectively. The undersigned understands that

the Redaction Requests shall be submitted directly to the Court Reporter/Transcriber for each

respective transcript for which redactions are requested.
Case 3:18-cv-00156-NJR Document 333 Filed 08/11/21 Page 2 of 3 Page ID #7687




Dated: August 11, 2021        Respectfully submitted by:

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                                       2
Case 3:18-cv-00156-NJR Document 333 Filed 08/11/21 Page 3 of 3 Page ID #7688




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                                CERTIFICATE OF SERVICE

       I certify that on August 11, 2021, I electronically filed the foregoing document with the

Clerk of this Court by using the CM/ECF system, which will accomplish service through the

Notice of Electronic Filing for parties and attorneys who are Filing Users.

                                         By: /s/ Abby L. Parsons
                                         Abby L. Parsons




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